Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 1 of 12 PagelD: 1

STARK & STARK

A PROFESSIONAL CORPORATION
PO BOX 5315

PRINCETON, NEW JERSEY 08543-5315
(609) 896-9060

and

COHEN & GRESSER LLP

100 PARK AVENUE

NEW YORK, NEW YORK 10017
(212) 957-7600

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

INTEMPCO CONTROLS LTD.,
Plaintiff, Civil Action No.
- against -

ENDRESS+HAUSER, INC.,
ENDRESS+HAUSER WETZER (USA),

INC., ENDRESS+HAUSER GMBH+CO, COMPLAINT
ROCKWELL AUTOMATION, INC,
PYROMATION, INC., JUMO GMBH & JURY TRIAL REQUESTED

CO. KG, JUMO PROCESS CONTROL
INC., TEL-TRU, INC., and TEL-TRU
DOMESTIC INTERNATIONAL SALES
CORP.,

Defendants.

Intempco Controls Ltd. (“Intempco”), by way of this Complaint against Endresst+Hauser,
Inc., Endress+Hauser Wetzer (USA), Inc., Endress+Hauser GMBH + Co. (all Endress+Hauser
entities collectively “E+H”), Rockwell Automation, Inc. (“Rockwell”), Pyromation, Inc.

(“Pyromation’”), Jumo Process Control, Inc. and Jumo GmbH & Co. KG (all Jumo entities

0056597.DOC
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 2 of 12 PagelD: 2

collectively “Jumo”), Tel-Tru, Inc., and Tel-Tru Domestic International Sales Corp. (all Tel-Tru
entities collectively “Tel-Tru”) (E+H, Rockwell, Pyromation, Jumo, and Tel-Tru referred to
collectively herein as “Defendants”) hereby alleges as follows:

NATURE OF THE ACTION

1. This is a civil action for infringement of United States Pat. No. 7,223,014 (“the
Patent”) arising under 35 U.S.C. § 100, et seg., and in particular § 271.

2. Intempco manufactures and sells, among other types of industrial instrumentation,
Microprocessor Integrated Sensor Transmitter (“MIST”) Temperature Sensors that combine a
Resistive Temperature Device (“RTD”) and a programmable transmitter into one unit. The
programmability of MIST Temperature Sensors permits scaling of a pertinent temperature range
to provide improved accuracy over competing non-programmable temperature transmitters.

3. On information and belief, E+H makes, offers for sale, and sells the TSM470 line
of RTD transmitters.

4. On information and belief, Rockwell makes, offers for sale, and sells the 837E
Temperature Transmitter line of sensors.

5. On information and belief, Pyromation makes, offers for sale, and sells the 450

Programmable Integral Temperature Transmitter (“the 450 Transmitter’).

6. On information and belief, Jumo makes, offers for sale, sells, and imports the
Dtrans T100 product.

7. On information and belief, Tel-Tru makes, offers for sale, and sells the ST100
product.

8. Each of the products made, sold, offered for sale (and, in the case of Jumo,

imported), infringes the Patent.

0056597.DOC 2
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 3 of 12 PagelD: 3

PARTIES

9. Intempco is a Canadian corporation, with its principal Canadian place of business
at 2511, Guenette, Montreal, (Quebec) Canada H4R 2E9.

10. _Intempco has a principal place of business in the United States at 165 State Street,
Suite C, Hackensack, New Jersey 07601, where it sells among other products its patented MIST
Temperature Sensors and manufactures other industrial instrumentation.

11. On information and belief, Endress+Hauser, Inc. is a corporation organized and
existing under the laws of the state of Indiana, with its principal place of business at 2350
Endress Place, Greenwood, Indiana 46143.

12. On information and belief, Endress+Hauser Wetzer (USA), Inc. is a corporation
organized and existing under the laws of the state of Indiana, with its principal place of business
at 2350 Endress Place, Greenwood, Indiana 46143.

13. On information and belief, Endress+Hauser GMBH + Co. is a corporation
organized and existing under the laws of the state of Indiana, with its principal place of business
at 2340 Endress Place, Greenwood, Indiana 46143.

14. On information and belief, Rockwell is a corporation registered to do business in
New Jersey, with its principal place of business at 1201 South 2nd Street, Milwaukee, Wisconsin
53204.

15. On information and belief, Pyromation is a corporation organized and existing
under the laws of the state of Indiana, with its principal place of business at 5211 Industrial
Road, Fort Wayne, Indiana 46825.

16. On information and belief, Jumo GmbH & Co. KG is a corporation organized and
existing under the laws of the state of Germany, with its principal place of business at Moritz-

Juchheim Strafe 1, 36039 Fulda, Germany.

0056597.DOC 3
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 4 of 12 PagelD: 4

17. On information and belief, Jumo Process Control, Inc., is a corporation organized
and existing under the laws of the state of Delaware, with its principal place of business at 8
Technology Boulevard, Canastota, New York 13032.

18. On information and belief, Tel-Tru, Inc. is a corporation organized and existing
under the laws of the state of New York, with its principal place of business at 408 St. Paul
Street, Rochester, New York 14605.

19, On information and belief, Tel-Tru, Domestic International Sales Corp. is a
corporation organized and existing under the laws of the state of New York, with its principal
place of business at 36 West Maine Street, Rochester, New York 14605.

JURISDICTION AND VENUE

20. This Court has exclusive subject matter jurisdiction over this action under 28
U.S.C. § 1338(a).

21. | Venue is proper in this District under 28 U.S.C. §§ 1391(b) and (c) and 1400(b).

22. This Court has personal jurisdiction over each of the Defendants. Each Defendant
regularly conducts and solicits business in the state of New Jersey and derives substantial
revenue from goods used or services rendered in the state of New Jersey and in this judicial
district.

23. On information and belief, E+H offers for sale and/or sells through its e-Direct
website — www.e-direct.us — the TSM470 line of products in the state of New Jersey and within
this judicial district.

24. On information and belief, E+H directly, or through intermediaries (including
distributors, retailers, and others), offers for sale and/or sells the TSM470 line of products in the

state of New Jersey and within this judicial district.

0056597.DOC 4
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 5 of 12 PagelD: 5

25. On information and belief, Rockwell offers for sale through its website Selection
and Configuration tool — www.ab.com/conditionsensing/temperature/solidstate.html — the 837E
Temperature Transmitter line of sensors in the state of New Jersey and within this judicial
district.

26. On information and belief, Rockwell, directly or through intermediaries
(including distributors, retailers, and others), offers for sale and/or sells the 837E Temperature
Transmitter line of sensors in the state of New Jersey and within this judicial district.

27. | On information and belief, Rockwell operates a sales office in the state of New
Jersey and within this judicial district.

28. On information and belief, Pyromation offers for sale and/or sells through its
website — www.pyromation.com — the 450 Transmitter in the state of New Jersey and within this
judicial district.

29. On information and belief, Pyromation, directly or through intermediaries
(including distributors, retailers, and others), offers for sale and/or sells the 450 Transmitter in
the state of New Jersey and within this judicial district.

30. On information and belief, Jumo, directly imports, offers for sale, and/or sells the
Dtrans T100 product in the state of New Jersey and within this judicial district.

31. On information and belief, Tel-Tru offers for sale and/or sells products through its
website — www.teltru.com — the ST100 product in the state of New Jersey and within this judicial
district.

32. On information and belief, Tel-Tru, directly or through intermediaries (including
distributors, retailers, and others), offers for sale and/or sells the ST100 product in the state of

New Jersey and within this judicial district.

0056597. DOC 5
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 6 of 12 PagelD: 6

33. Each of Defendants expects or should reasonably expect its infringement of the
Patent to have consequences in the state of New Jersey.
34. Defendants’ infringement of the Patent has caused injury to Intempco in the state

of New Jersey.

RELEVANT FACTS

The Patent

35. After a full and fair examination by the United States Patent and Trademark
Office, the Patent issued on May 29, 2007, entitled REMOTELY PROGRAMMABLE
INTEGRATED SENSOR TRANSMITTER. A copy of the Patent is annexed hereto as Exhibit
1.

36. Intempco is and always has been the sole assignee of all rights, title, and interest
in and to the Patent and possesses all rights of recovery under the Patent.

37. Intempco’s Temperature Sensors incorporate certain or all of the claimed subject
matter identified in the Patent.
The Intempco MIST Product

38.  Intempco describes its MIST products as, among other things, an “RTD and
transmitter [combined] into one unit” with generally a 4 to 20mA signal, and possessing “the
distinctive feature . . . that they can be calibrated and re-scaled ... using the . . . programming
module” via a PC.
The Infringing Products

39. | E+H describes the TSM470 products as a “compact RTD transmitter . . . that
converts the [RTD] input signal into a temperature proportional 4 to 20mA signal” and possesses

a “PC configuration cable connection.”

0056597.DOC 6
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 7 of 12 PagelD: 7

40. Rockwell describes the 837E Temperature Transmitter as a “PC-programmable
temperature transmitter[] with 4...20mA analog output” that uses “easy to use Windows-based
programming software.”

41. Pyromation describes the 450 Transmitter as a “PC programmable temperature
transmitter” for converting an RTD “signal into a scaleable (4 to 20) mA analog output signal.”

42. Jumo describes the Dtrans T100 product as “a screw-in resistance thermometer”
with a “programmable 2-wire transmitter,” and a “4 to 20mA . . . output” that is “linear with
temperature.” “The range, fine calibration or measuring circuit monitoring etc., can all be
configured with the help of a setup program.”

43. Tel-Tru describes the ST100 product as an “RTD probe assembly with built-in
compact transmitter, [and a] 4 to 20mA . . . output,” that is “PC programmable.”

CLAIMS FOR RELIEF

First Count of Infringement Against E+H

44. Intempco repeats and re-alleges paragraphs 1-43 as if fully set forth herein.

45. E+H, through at least the TSM470 line of products has infringed and is infringing
the Patent, literally or under the doctrine of equivalents, through one or more of the following
acts: making, using, offering to sell, selling, or importing, in or into the United States, the
invention of one or more claims of the Patent.

46. Asa direct and proximate result of E+H’s acts of infringement, Intempco has
been, is being, and will be damaged. Consequently, Intempco is entitled to compensation for its
damages from E+H under 35 U.S.C. § 284 in an amount that cannot presently be quantified but

will be ascertained at trial.

0056597.DOC 7
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 8 of 12 PagelD: 8

47. As a direct and proximate result of each of E+H’s acts of infringement, Intempco
has been irreparably harmed and will continue to be harmed unless and until each of E+H’s
infringing acts is enjoined and restrained by order of this Court.

Second Count of Infringement Against Rockwell

48.  Intempco repeats and re-alleges paragraphs 1-47 as if fully set forth herein.

49. Rockwell, through at least the 837E Temperature Transmitter, has infringed and is
infringing the Patent, literally or under the doctrine of equivalents, through one or more of the
following acts: making, using, offering to sell, selling, or importing, in or into the United States,
the invention of one or more claims of the Patent.

50. As adirect and proximate result of Rockwell’s acts of infringement, Intempco has
been, is being, and will be damaged. Consequently, Intempco is entitled to compensation for its
damages from Rockwell under 35 U.S.C. § 284 in an amount that cannot presently be quantified
but will be ascertained at trial.

51. As a direct and proximate result of each of Rockwell’s acts of infringement,
Intempco has been irreparably harmed and will continue to be harmed unless and until each of
Rockwell’s infringing acts is enjoined and restrained by order of this Court.

Third Count of Infringement Against Pyromation

52.  Intempco repeats and re-alleges paragraphs 1-51 as if fully set forth herein.

53. | Pyromation, through at least the 450 Transmitter, has infringed and is infringing
the Patent, literally or under the doctrine of equivalents, through one or more of the following
acts: making, using, offering to sell, selling, or importing, in or into the United States, the

invention of one or more claims of the Patent.

0056597.DOC 8
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 9 of 12 PagelD: 9

54. As a direct and proximate result of Pyromation’s acts of infringement, Intempco
has been, is being, and will be damaged. Consequently, Intempco is entitled to compensation for
its damages from Pyromation under 35 U.S.C. § 284 in an amount that cannot presently be
quantified but will be ascertained at trial.

55. | Asadirect and proximate result of each of Pyromation’s acts of infringement,
Intempco has been irreparably harmed and will continue to be harmed unless and until each of
Pyromation’s infringing acts is enjoined and restrained by order of this Court.

Fourth Count of Infringement Against Jumo

56.  Intempco repeats and re-alleges paragraphs 1-55 as if fully set forth herein.

57. Jumo, through at least the Dtrans T100 product, has infringed and is infringing the
Patent, literally or under the doctrine of equivalents, through one or more of the following acts:
making, using, offering to sell, selling, or importing, in or into the United States, the invention of
one or more claims of the Patent.

58. As adirect and proximate result of Jumo’s acts of infringement, Intempco has
been, is being, and will be damaged. Consequently, Intempco is entitled to compensation for its
damages from Jumo under to 35 U.S.C. § 284 in an amount that cannot presently be quantified
but will be ascertained at trial.

59. As a direct and proximate result of each of Jumo’s acts of infringement, Intempco
has been irreparably harmed and will continue to be harmed unless and until each of Jumo’s
infringing acts is enjoined and restrained by order of this Court.

Fifth Count of Infringement Against Tel-Tru

60. _Intempco repeats and re-alleges paragraphs 1-59 as if fully set forth herein.

0056597.DOC 9
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 10 of 12 PagelD: 10

61.‘ Tel-Tru through at least the ST100 product has infringed and is infringing the
Patent, literally or under the doctrine of equivalents, through one or more of the following acts:
making, using, offering to sell, selling, or importing, in or into the United States, the invention of
One or more claims of the Patent.

62. As adirect and proximate result of Tel-Tru’s acts of infringement, Intempco has
been, is being, and will be damaged. Consequently, Intempco is entitled to compensation for its
damages from Tel-Tru under 35 U.S.C. § 284 in an amount that cannot presently be quantified
but will be ascertained at trial.

63. | Asadirect and proximate result of each of Tel-Tru’s acts of infringement,
Intempco has been irreparably harmed and will continue to be harmed unless and until each of

Tel-Tru’s infringing acts is enjoined and restrained by order of this Court.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands the following relief:

(i) A judgment declaring that the Patent was duly and legally issued, is valid, and is
enforceable;

(ii) A judgment declaring that each of Defendants has infringed the Patent as alleged
herein;

(iii) | A judgment and order awarding Intempco damages under 35 U.S.C. §284;

(iv) A judgment and order granting supplemental damages for any continuing post-
verdict infringement up until entry of the final judgment with an accounting as
needed;

(v) | A judgment and order awarding Intempco pre-judgment and post-judgment

interest on the damages awarded;

0056597.DOC 10
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 11 of 12 PagelD: 11

(vi)

(vii)

the Patent; and

A judgment and order that each of the Defendants, their agents, employees,
representatives, successors, and assigns, and those acting in privity or in concert

therewith, be preliminarily and permanently enjoined from further infringement of

Such other and further relief as the Court deems just and equitable.

JURY DEMAND

Intempco requests a trial by jury of all claims so triable.

April 28, 2010

0056597.DOC

Respectfully submitted,

STARK & STARK

A Professional Corporation

P.O. Box 5315

Princeton, New Jlersey/08543-5315

By:
CRAIGA. HILLIARD
Attorpéys for Plaintiff
COHEN & GRESSER LLP

Karen H. Bromberg

Sandra C. McCallion
Francisco A. Villegas

Damir Cefo

100 Park Avenue

New York, New York 10017

Attorneys for Plaintiff
Intempco Controls Ltd.

11
Case 2:10-cv-02152-SDW-MCA Document1 Filed 04/28/10 Page 12 of 12 PagelD: 12

LOCAL RULE 11.2 CERTIFICATION

Pursuant to Local Civil Rule 11.2, it is hereby stated that to the best of my knowledge
and belief the matter in controversy is not the subject of any other action pending in any other

Court or of a pending arbitration proceeding.

Dated: April 28, 2010 [ =e S. HILLIARD

0056597.DOC 12
